Case 1:20-cr-00326-WJM Document 89 Filed 11/19/21 USDC Colorado Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge William J. Martínez

Criminal Case No. 20-cr-326-WJM

UNITED STATES OF AMERICA,

              Plaintiff,

v.

SCOTT LOWE,

              Defendant.


  ORDER GRANTING IN PART AND DENYING IN PART GOVERNMENT’S NOTICE
   OF INTENT TO INTRODUCE EVIDENCE PURSUANT TO FEDERAL RULE OF
        EVIDENCE 404(B) AND MOTION IN LIMINE TO ADMIT EVIDENCE


       The Government charges Defendant Scott Lowe with: (1) one count of

possession with intent to distribute a mixture and substance containing a detectable

amount of 3,4-Methyl-enedioxy-methamphetamine (MDMA), a Schedule I controlled

substance, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C); (2) one count of

possession of a firearm in furtherance of a drug trafficking crime, in violation of 18

U.S.C. § 924(c)(1)(A)(i); and (3) one count of possession of a firearm by a felon, in

violation of 18 U.S.C. § 922(g)(1). (ECF No. 52.)

       This matter is before the Court on the Government’s Notice of Intent to Introduce

Evidence Pursuant to Federal Rule of Evidence 404(b) and Motion in Limine to Admit

Evidence (“Motion”), filed on October 4, 2021. (ECF No. 81.) Defendant responded on

October 20, 2021. (ECF No. 83.) For the reasons set forth herein, the Motion is

granted in part and denied in part.

                                             1
Case 1:20-cr-00326-WJM Document 89 Filed 11/19/21 USDC Colorado Page 2 of 12




                                I. FACTUAL BACKGROUND

       On February 11, 2014, Defendant pled guilty to one count of possession of a

firearm by a felon, in violation of 18 U.S.C. § 922(g)(1). (ECF No. 81-1 at 1.) Defendant

was sentenced to 48 months’ imprisonment, followed by 3 years of supervised released

(Id. at 34–35.) The terms of Defendant’s supervised release included a requirement

that “[t]he [D]efendant shall submit his or her person, property, house, residence,

papers, [computers (as defined in 18 U.S.C. § 1030(e)(l)), other electronic

communications or data storage devices or media,] or office, to a search conducted by

a United States probation officer. . . .” (Id. at 36.)

       On December 2, 2019, United States Probation Officers Jordan Buescher and

Ashlie Diener searched Defendant’s apartment unit and uncovered: (1) capsules used

in the distribution of MDMA; (2) messages on Defendant’s cellphone indicating that he

was attempting to buy large amounts of narcotics; and (3) cell phone search results

indicating that Defendant had visited a webpage relating to a grip for a Kahr firearm.

(ECF No. 81 at 6; ECF No. 81-2.)

       On February 24, 2020, Buescher, Diener, and members of the Denver Police

Department conducted another home visit after receiving a report that Defendant was

abusing his son and engaging in domestic violence against his wife. (ECF No. 81-3 at

1.) During the search, police discovered that Defendant’s wife was in possession of a

loaded Smith & Wesson 9 mm handgun and a second magazine in a black holster in

her pants holding six rounds of ammunition for a Kahr firearm. (ECF No. 81 at 8; ECF

No. 81-3 at 3.) In searching the apartment, the Probation officers found plastic bags, a

digital scale, a pill press, suspected steroids, and other drug paraphernalia. (ECF No.


                                               2
Case 1:20-cr-00326-WJM Document 89 Filed 11/19/21 USDC Colorado Page 3 of 12




81 at 8.) Following this search, Defendant was arrested on second degree assault

charges. (ECF No. 81-3 at 3.)

       Thereafter, during the February 27, 2020 search of a storage unit in Defendant’s

apartment building, law enforcement uncovered, inter alia:

              a loaded Kahr Arms .40 caliber CM40 handgun with serial
              number JN4570; firearm ammunition; a clear plastic bag of
              containing approximately 25 grams of methamphetamine
              and MDMA; a black ski mask; two parking ticket return
              envelopes issued to the defendant at 901 Sherman Street,
              #724, Denver, Colorado, one of which contained a
              handwritten note stating, “zip molly- 1800, 52 off white-
              2460, X pills- 300, 1g moon rock $20, powder?”; a
              prescription of “Vyvanse” belonging to Lowe; a black t-shirt
              with “Police” printed on the front and back; numerous small,
              unused, clear plastic baggies with blue devil images; digital
              scales; prescription medication for Ashley Lowe, the Lowe’s
              ex-wife; a passport and social security card belonging to
              Zach Reedholm, the defendant’s former brother-in-law;
              numerous forged checks made out to Zach Reedholm; and
              numerous pieces of stolen mail.

(ECF No. 81 at 1–2.)

                                II. LEGAL STANDARDS

       “The admission or exclusion of evidence lies within the sound discretion of the

trial court . . . .” Robinson v. Mo. Pac. R.R. Co., 16 F.3d 1083, 1086 (10th Cir. 1994);

see also United States v. Golden, 671 F.2d 369, 371 (10th Cir. 1982) (“Trial judges

have discretion to decide whether an adequate foundation has been laid for the

admission of evidence.”).

       Under Federal Rule of Evidence 401, “[e]vidence is relevant if: (a) it has any

tendency to make a fact more or less probable than it would without the evidence; and

(b) the fact is of consequence in determining the action.” Relevant evidence is

generally admissible and should only be excluded “if its probative value is substantially

                                             3
Case 1:20-cr-00326-WJM Document 89 Filed 11/19/21 USDC Colorado Page 4 of 12




outweighed by a danger of . . . unfair prejudice, confusing the issues, misleading the

jury, undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R.

Evid. 403. “Irrelevant evidence is not admissible.” Fed. R. Evid. 402.

      Federal Rule of Evidence 404(b) provides:

             (1) Prohibited Uses. Evidence of any other crime, wrong, or
             act is not admissible to prove a person’s character in order
             to show that on a particular occasion the person acted in
             accordance with the character.

             (2) Permitted Uses. This evidence may be admissible for
             another purpose, such as proving motive, opportunity, intent,
             preparation, plan, knowledge, identity, absence of mistake,
             or lack of accident.

             (3) Notice in a Criminal Case. In a criminal case, the
             prosecutor must:

                    (A) provide reasonable notice of any such evidence
                    that the prosecutor intends to offer at trial, so that the
                    defendant has a fair opportunity to meet it;

                    (B) articulate in the notice the permitted purpose for
                    which the prosecutor intends to offer the evidence
                    and the reasoning that supports the purpose; and

                    (C) do so in writing before trial--or in any form during
                    trial if the court, for good cause, excuses lack of
                    pretrial notice.

      A court considers a four-factor test when determining the admissibility of

evidence under Rule 404(b). The test requires that:

             (1) the evidence must be offered for a proper purpose; (2)
             the evidence must be relevant; (3) the trial court must make
             a Rule 403 determination of whether the probative value of
             the similar acts is substantially outweighed by its potential for
             unfair prejudice; and (4) pursuant to FED.R.EVID. 105, the
             trial court shall, upon request, instruct the jury that evidence
             of similar acts is to be considered only for the proper
             purpose for which it was admitted.


                                             4
Case 1:20-cr-00326-WJM Document 89 Filed 11/19/21 USDC Colorado Page 5 of 12




United States v. Zamora, 222 F.3d 756, 762 (10th Cir. 2000) (quotation omitted); see

Huddleston v. United States, 485 U.S. 681, 691–92 (1988) (discussing four sources that

serve as “the protection against . . . unfair prejudice” when admitting evidence under

Rule 404(b)).

                                       III. ANALYSIS 1

       In its Motion, the Government seeks an order confirming that it may introduce the

following evidence at trial: (1) Defendant’s prior conviction in Criminal Case No. 13-cr-

468-PAB, as well as the corresponding plea agreement and transcript of his change of

plea hearing; (2) the results of the December 2, 2019 search of Defendant’s apartment;

and (3) results of the February 24, 2020 search of Defendant’s apartment. (ECF No.

81.)

A.     Evidence Regarding Defendant’s Prior Conviction

       The Government seeks an order allowing it to introduce Defendant’s prior

conviction, as well as the plea agreement and transcript of Defendant’s change of plea

hearing. (ECF No. 81 at 3–5.) The Government contends that this evidence will be

offered to establish Defendant’s motive, intent, knowledge, absence of mistake, and

identity. Specifically, the Government contends that: (1) the sentence and conviction

tend to show Defendant “was using the storage unit to hide the firearms and narcotics,

because the terms of his supervised release allowed probation officers to search his

residence for contraband”; (2) the sentence and conviction demonstrate that

Defendant’s unlawful possession of a firearm was knowingly undertaken; (3) the plea


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           In the Motion, the Government seeks a ruling about whether it may introduce evidence
at trial. (ECF No. 81.) Although motions in limine generally relate to requests to exclude
evidence, the Court will nonetheless analyze the issues raised in the Motion to avoid extensive
evidentiary disputes at trial.
                                               5
Case 1:20-cr-00326-WJM Document 89 Filed 11/19/21 USDC Colorado Page 6 of 12




agreement contained admissions of prior narcotics activity, which demonstrates that

Defendant had the knowledge or intent necessary to commit possession with intent to

distribute a mixture and substance containing a detectable amount of 3,4-Methyl-

enedioxy-methamphetamine (MDMA); and (4) the stipulated facts in the plea

agreement, including that he was living with Ashley Reedholm at the time, connect

Defendant to the storage unit in the case. (Id. at 4–5.)

        Defendant responds that the probative value of the prior conviction is “minimal at

best” and is too remote in time to be admissible pursuant to Rule 404(b). (ECF No. 83

at 3, 5.) He further argues that the proffered evidence is highly prejudicial and should

be excluded pursuant to Rule 403. (Id. at 3–5.) The Court agrees with Defendant in

part.

        The Court concludes that the Government will not be permitted to use

Defendant’s prior conviction and plea agreement to demonstrate Defendant’s specific

intent to distribute narcotics. Although it is proper to use prior drug involvement to show

plan, motive, or intent in a drug trafficking offense, see United States v. Watson, 766

F.3d 1219, 1237 (10th Cir. 2014), the relevance of Defendant’s prior conviction to

demonstrate Defendant’s specific intent to distribute narcotics is undermined by the

lengthy period of time between the prior acts and the alleged conduct charged in the

Superseding Indictment, see United States v. Becker, 230 F.3d 1224, 1232 (10th Cir.

2000) (recognizing that “prior narcotics involvement is relevant when that conduct is

‘close in time, highly probative, and similar to the activity with which the defendant is

charged’” and that “[f]our to six years transcends our conception of ‘close in time’”).




                                              6
Case 1:20-cr-00326-WJM Document 89 Filed 11/19/21 USDC Colorado Page 7 of 12




Here, the Court concludes that Defendant’s 2014 plea agreement and conviction are too

remote to be admissible as Rule 404(b) evidence.

       Moreover, although the Government seeks to offer Defendant’s prior conviction

to establish Defendant’s intent, knowledge, and motive, the Court concludes that the

probative value of the prior conviction being introduced at the onset of the trial is

substantially outweighed by a danger of unfair prejudice, and is thus properly excluded

under Rule 403. 2

       Defendant has not moved to bifurcate the evidence and deliberation against the

felon-in-possession charge against Defendant from the remaining charges.

Nonetheless, it is the Court’s longstanding practice—on its own motion, if necessary—to

bifurcate trials containing a 18 U.S.C. § 922(g)(1) charge pursuant to Federal Rule of

Criminal Procedure 14. In the Court’s view, the introduction of evidence regarding the

felon-in-possession charge will necessarily inform the jury of Defendant’s status as a

felon, and in all likelihood will be unduly prejudicial in the jury’s consideration of the

other charges. Accordingly, on its own motion, the Court will bifurcate the trial against

Defendant. Counts 1 and 2 will be tried first. After the jury returns a verdict on those




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         The Court further disagrees that the Government must be permitted to introduce
Defendant’s 2014 plea agreement to explain Defendant’s connection to Ashley Reedholm. The
Probation Office’s notes of the February 24, 2020 search of Defendant’s apartment demonstrate
that U.S. Probation officers are aware of Ms. Reedholm’s connection to Defendant and may
therefore testify to that connection at trial. (See ECF No. 83-3 at 3.) Because there are other
avenues for the Government to demonstrate Ms. Reedholm’s connection to Defendant, the
Court concludes that the plea agreement’s relevance to establish Defendant as the owner of the
storage locker’s contents is outweighed by a danger of unfair prejudice to Defendant under Rule
403.

                                               7
Case 1:20-cr-00326-WJM Document 89 Filed 11/19/21 USDC Colorado Page 8 of 12




offenses, the parties will immediately move on to their evidence regarding Count 3. The

same jury will hear that evidence and deliberate on Count 3. 3

       Although the Court will not allow the Government to introduce evidence of

Defendant’s status as a felon during the first phase of the trial, the Court nonetheless

believes that the Government should be permitted to introduce certain evidence

pertaining to Defendant’s criminal history at trial. Such information is critical to set the

scene for the jury and will provide relevant context about why Buescher and Diener

were supervising Defendant and why Defendant might store firearms and narcotics in a

storage unit rather than his apartment. Without this evidence the sequence of events

underlying the charged conduct in this case will make little sense to the jury.

Accordingly, the Court will allow the Government to inform the jury that Defendant was

under supervision by the United States Probation Office due to a prior violation of law.

However, the Government is not permitted to introduce evidence during phase one of

the trial referencing this prior violation of law as a felony conviction.

       Accordingly, this portion of the Motion is granted in part and denied in part.

B.     Evidence Uncovered During December 2, 2019 and February 24, 2020
       Searches

       The Government argues that evidence recovered as a result of the December 2,

2019 and February 24, 2020 searches is not subject to Rule 404(b) because it is

intrinsic to the crimes charged. (ECF No. 81 at 6.) Specifically, the Government argues

that the December 2, 2019 search “occurred less than three months before the charged


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          To the extent that the parties do not reach a stipulation regarding Defendant’s felon
status and knowledge that he had been convicted of a felony, the Court will allow the
Government to introduce Defendant’s prior conviction during phase two of the trial. If necessary
at that time, the Court will revisit whether the Government should also be permitted to introduce
Defendant’s plea agreement and the transcript of the change of plea hearing.
                                               8
Case 1:20-cr-00326-WJM Document 89 Filed 11/19/21 USDC Colorado Page 9 of 12




offense,” “involved the same probation officers as the later search,” “set the stage for

why the [D]efendant was hiding the contraband charged in this case outside of his

residence,” and “produced evidence intimately connected with the narcotics and Kahr

firearm charged in this case” and should therefore be considered intrinsic evidence. (Id.

at 6–7.) The Government further argues that the Superseding Indictment encompasses

the timeframe of the February 24, 2020 search and that this search “led to the February

27, 2020 storage unit search.” (Id. at 8.)

       In response, Defendant argues that the February 27, 2020 search “could not

conceivably be ‘inextricably intertwined’ with the supervision searches” as they were

“conducted by different officers, in different governments, for different purposes.” (ECF

No. 83 at 2.) He further argues that the “February 24 search by probation officers

provided absolutely no basis for the February 27 storage unit search by Denver

detectives” and that the alleged evidence uncovered on February 24 had “absolutely

nothing to do with the storage unit search.” (Id. at 3.) The Court disagrees.

       “Rule 404(b) only applies to evidence of acts extrinsic to the charged crime.”

United States v. Lambert, 995 F.2d 1006, 1007–08 (10th Cir. 1993) (quoting United

States v. Pace, 981 F.2d 1123, 1135 (10th Cir. 1992), cert. denied, 507 U.S. 966

(1993)). “Other act evidence is intrinsic when the evidence of the other act and the

evidence of the crime charged are inextricably intertwined or both acts are part of a

single criminal episode or the other acts were necessary preliminaries to the crime

charged.” Id. (citation omitted); see also United States v. Parker, 553 F.3d 1309, 1314

(10th Cir. 2009) (recognizing that “[i]ntrinsic evidence is directly connected to the factual

circumstances of the crime and provides contextual or background information to the


                                              9
Case 1:20-cr-00326-WJM Document 89 Filed 11/19/21 USDC Colorado Page 10 of 12




 jury” whereas “[e]xtrinsic evidence . . . is extraneous and is not intimately connected or

 blended with the factual circumstances of the charged offense” (citations omitted)).

        Here, the Court concludes that the evidence obtained during the December 2,

 2019 and February 24, 2020 searches is intrinsic to the factual circumstances

 surrounding the Superseding Indictment and is therefore admissible at trial. 4 After all,

 the evidence obtained during the December 2, 2019 and February 24, 2020 searches—

 including the capsules, pill press, digital scale, plastic bags, drug paraphernalia, as well

 as the cell phone messages indicating that Defendant was both looking to purchase

 narcotics and searching for a grip for a Kahr firearm—is directly connected to the factual

 circumstances of the offenses charged in the Superseding Indictment. 5 The evidence

 directly relates to the Government’s theory that Defendant was the owner of the items

 uncovered in the storage unit, as well as Defendant’s intent to distribute narcotics and

 possess a firearm in furtherance of a drug trafficking crime.

        To the extent that Defendant argues that the probative value of the evidence

 obtained as a result of the December 2 and February 24 searches is outweighed by

 unfair prejudice, the Court disagrees. After all, “Rule 403 does not protect a party from



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           Even if the evidence was not intrinsic to the crimes charged, the Court would
 nonetheless find that this evidence is admissible pursuant to Rule 404(b) for the proper purpose
 of showing Defendant’s motive and intent. See Watson, 766 F.3d at 1237. Moreover, the
 evidence is relevant given the temporal proximity and relation to the instant charged offenses.
 See United States v. Conway, 73 F.3d 975, 981 (10th Cir. 1995) (upholding admission of prior
 arrests for selling cocaine from motel rooms to support a charge for possession with intent to
 distribute cocaine from neighboring motel).
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          Moreover, the Court notes that the time period identified for Counts 1–3 in the
 Superseding Indictment explicitly includes the February 24, 2020 search and allows for the
 inclusion of the December 2, 2019 search. (See ECF No. 52 (alleging that Counts 1–3 began
 on a “date unknown but not later than on or about February 24, 2020, through on or about
 February 27, 2020”).)

                                               10
Case 1:20-cr-00326-WJM Document 89 Filed 11/19/21 USDC Colorado Page 11 of 12




 all prejudice, only unfair prejudice.” Watson, 766 F.3d at 1242 (recognizing that unfair

 prejudice is assessed by analyzing whether the “[e]vidence . . . makes a conviction

 more likely because it provokes an emotional response in the jury or otherwise tends to

 affect adversely the jury’s attitude toward the defendant wholly apart from its judgment

 as to his guilt or innocence of the crime charged”).

        However, the Court agrees with Defendant’s assertion that the allegations of

 child and spousal abuse against Defendant are “highly inflammatory,” “prejudicial,” and

 “likely to inflame the jury.” (ECF No. 83 at 4.) The Court will permit the witnesses to

 testify that Buescher, Diener, and members of the Denver Police Department visited

 Defendant’s home on February 24, 2020; however, these witnesses may not testify that

 this home visit was conducted after receiving a report that Defendant was abusing his

 son and/or wife or that Defendant was thereafter charged with second degree assault.

 (ECF No. 81-3 at 1.) For the same reason, the Government will not be permitted to

 introduce Buescher’s March 6, 2020 report regarding the February 24, 2020 search.

 (See ECF No. 81-3.) However, Buescher will be permitted to testify regarding the

 February 24, 2020 search in a manner that is consistent with this Order.

        The Court further agrees that the Government will not be permitted to introduce

 Buescher’s notes of the December 2, 2019 search as it contains a legal conclusion that

 “[i]n review of the phone, it was very evident the D[efendant] was engaged in narcotic

 trafficking.” (ECF No. 81-2 at 2.) Nonetheless, Buescher will be permitted to testify as

 to his observations during the December 2, 2019 search.

        This portion of the Motion is granted in part and denied in part as set forth herein.




                                             11
Case 1:20-cr-00326-WJM Document 89 Filed 11/19/21 USDC Colorado Page 12 of 12




                                     IV. CONCLUSION

       For the reasons set forth above, the Court ORDERS that:

 1.    The Government’s Notice of Intent to Introduce Evidence Pursuant to Federal

       Rule of Evidence 404(b) and Motion in Limine to Admit Evidence (ECF No. 81) is

       GRANTED IN PART AND DENIED IN PART as set forth herein; and

 2.    By way of separate order, the Court will reset the Final Trial Preparation

       Conference and Trial.



       Dated this 19th day of November, 2021.

                                                 BY THE COURT:



                                                 ______________________
                                                 William J. Martinez
                                                 United States District Judge




                                            12
